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                       EX. 4
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                                                                  Page 1

 1
 2      UNITED STATES DISTRICT COURT
        DISTRICT OF MASSACHUSETTS
 3
        Case No. 11-cv-10230 MLW
 4      - - - - - - - - - - - - - - - - - - - -x
 5      ARKANSAS TEACHER RETIREMENT SYSTEM,
        et al.,
 6
                                         Plaintiffs,
 7
                       -against-
 8
        STATE STREET BANK AND TRUST COMPANY,
 9
                                         Defendant.
10
        - - - - - - - - - - - - - - - - - - - -x
11
        JAMS
12      Reference No. 1345000011
        - - - - - - - - - - - - - - - - - - - -x
13
        In Re:      STATE STREET ATTORNEYS' FEES
14
        - - - - - - - - - - - - - - - - - - - -x
15
                                    June 14, 2017
16                                  9:59 a.m.
17
        B e f o r e :
18
                     SPECIAL MASTER HON. GERALD ROSEN
19                   United States District Court (Retired)
20
21               Deposition of GEORGE HOPKINS, taken by
22      Counsel to the Special Master, held at the
23      offices of JAMS, 620 Eighth Avenue, New York,
24      New York, before Helen Mitchell, a Registered
25      Professional Reporter and Notary Public.

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                                                 Page 10                                                   Page 12
 1                  Hopkins
 2   did after law school.
 3          A     Well, I might want to start in
 4   the middle of law school.
 5               When I was in my second year of
 6   law school, I dropped out of law school in my
 7   third -- in my fourth semester of law school to
 8   run for State Senate. I was elected, so I
 9   finished out law school as an Arkansas state
10   senator. And then I continued being a state
11   senator for 14 years, and simultaneously, after
12   I passed the bar in July of 1987, I practiced
13   law and was a state senator.
14               After I was term limited and
15   left the State Senate in December of 2000, I
16   just continued practicing law for eight years,
17   and after -- at the conclusion of those eight
18   years, in December of 2008, the Arkansas Teacher
19   Retirement System Board hired me as the
20   executive director, and I've been executive
21   director since December 29th, 2008.
22          Q     All right. Thank you, sir.
23               And, sir, could you tell us
24   something about the ARTRS --
25               JUDGE ROSEN: Bill, before we
                                                 Page 11                                                   Page 13
 1                 Hopkins                                  1                  Hopkins
 2         get to that --                                   2         just wanted to get that relevant
 3               MR. SINNOTT: Sure.                         3         history and background on the record.
 4               JUDGE ROSEN: -- you've had                 4               MR. SINNOTT: Thank you, Judge.
 5         some -- I remember from our interview,           5   BY MR. SINNOTT:
 6         you had some relevant background during          6         Q      And, sir, you were appointed as
 7         your service as a state senator. You             7   executive director of the Arkansas Teacher
 8         worked on the retirement committee, and          8   Retirement System in 2009?
 9         then you were chair of that committee?           9         A      December -- almost 2009.
10               THE WITNESS: Yes. I was on --             10   December 29th, 2008.
11         I was on the retirement committee I             11         Q      And could you tell us something
12         think ten of the 14 years I was in the          12   about the Arkansas Teacher Retirement System, as
13         State Senate. For six of those years,           13   far as the number of members, the portfolio, and
14         I was the Senate co-chair.                      14   the average monthly benefit, anything like that
15               That committee's a joint                  15   that you can tell us.
16         committee, has a Senate and a House             16         A      The Arkansas Teacher Retirement
17         co-chair, and during that six years I           17   System was created in 1937, it's 80 years old.
18         was the Senate co-chair, I had three            18   It currently has 45,000 retirees. We're paying
19         different House co-chairs, and a lot of         19   out about $85 million per month. That number's
20         the responsibility for ensuring that            20   probably about to be -- when we get to July will
21         retirement benefit legislation was              21   turn to probably 87 or $88 million per month.
22         properly drafted and went through               22               Our average benefit is just
23         appropriate study fell on me. I think           23   under $23,000 per year for those 45,000
24         in my last session, I probably handled          24   retirees, that we continue to pay a lump sum
25         55 bills, which is a pretty major load,         25   death benefit to. Out of those 45,000, probably

                                                                                               4 (Pages 10 - 13)
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                                 Page 27                                          Page 29
                                            1            Hopkins
                                            2   we had four firms that I will call on
                                            3   monitoring agreement retainer that
                                            4   looks at our entire portfolio -- all of
                                            5   our stocks, all of our bonds, all --
                                            6   all the things that we were invested
                                            7   in, which, you know, there might be
                                            8   national news.
                                            9         So what we expect them to do,
                                           10   and our agreement with them is, they
                                           11   will monitor our trust fund
                                           12   investments, and if they see an issue
                                           13   where we have a loss, or an issue that
                                           14   they see within our holdings in which
                                           15   they think that there may be a case
                                           16   that we need representation on in order
                                           17   to recover losses, or lack of gains
                                           18   that we should have gotten, however you
                                           19   want to phrase that, we have a monetary
                                           20   difference of what we have now versus
                                           21   what we should have had, then they will
                                           22   contact us.
                                           23         They also give a weekly report
                                           24   of, like, new cases that are filed,
                                           25   whether we have a loss in those cases
                                                                       8 (Pages 26 - 29)
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                                                 Page 30                                                     Page 32
 1               Hopkins                                    1                  Hopkins
 2          or not.                                         2   There was a great deal of pressure on us to do
 3                We have -- after I got there,             3   another -- what we call an RFP, because a firm
 4          we added a fifth firm, so we have five          4   that got looked over accidentally wasn't sent
 5          firms doing that.                               5   notice that we were doing the RFP, the
 6   BY MR. SINNOTT:                                        6   legislature really wanted us to do another one,
 7          Q       And who are those five firms?           7   and we did, and that's how we added a fifth
 8          A       The first is Labaton, the firm          8   firm, which was Kessler Topaz.
 9   I'm here with today; Bernstein Litowitz, a firm        9         Q      Now, since you became executive
10   based here in New York; we have Kaplan Fox --         10   director in late 2008-early 2009, in how many
11   with a K, Kaplan Fox -- based here in New York;       11   cases has ARTRS acted as a class representative?
12   we have Kessler Topaz, T-o-p-a-z, based in --         12         A      I haven't added that up. I
13   I'll just say Philadelphia -- they may be in a        13   would probably say 30.
14   suburb of Philadelphia -- and then we have Nix        14         Q      And typically the work has been
15   Patterson out of Texas. I think they have three       15   among those five firms?
16   or four Texas offices.                                16         A      Yes. There's only five firms
17                I hope that was five.                    17   that we have doing that.
18          Q       I think it was.                        18         Q      How many of those cases have
19                And you do not pay a retainer            19   involved foreign exchange transactions?
20   to those firms?                                       20         A      One.
21          A       We never pay these firms               21         Q      What was that case?
22   anything.                                             22         A      Arkansas Teacher Retirement
23          Q       Do you have to secure approval,        23   versus State Street.
24   as you do with the local firms, or the                24         Q      And we'll talk about that in
25   retirement-based firms that you were describing       25   just a moment, but was there also a case
                                                 Page 31                                                     Page 33


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                                                                                         :            .


                                                                                                9 (Pages 30 - 33)
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                                                 Page 34                                                   Page 36
 1                   Hopkins                                1                   Hopkins
 2         Q       What's the nature of that case,          2   about, you know, the cost of people having to
 3   and then ARTRS's role in it?                           3   wait to get their cars fixed and that kind of
 4         A       That's a currently active case           4   thing, but over time I was probably involved in
 5   in which I think we have a mediation coming up         5   four or five class action lawsuits, and actually
 6   in August.                                             6   I represented some attorneys who got in a fee
 7         Q       And where is that case?                  7   dispute over a class action lawsuit over these
 8         A       I believe that's in front of             8   check cashing places.
 9   Judge Wolf.                                            9          Q      Do you think that your
10         Q       In the District of                      10   experience professionally as a legal
11   Massachusetts?                                        11   practitioner has been an advantage to you in
12         A       Right.                                  12   your current role?
13               These cases are typically tied            13          A      I will say this: Yes,
14   based upon the home location of the corporate         14   absolutely.
15   headquarters of these entities.                       15          Q      How so?
16         Q       And is your system the lead             16          A      Well, first of all, I sort of
17   plaintiff in this matter?                             17   saw how these cases were, you know, brought from
18         A       Yes.                                    18   the ground up, all the interactions of the
19         Q       Now, in addition to your                19   attorneys, you know -- and having been in
20   experience as executive director in class             20   court -- you know, I tried capital murder cases;
21   actions, have you had professional experience as      21   whatever you name, I tried. I tried jury
22   a practitioner?                                       22   trials, I did a little bit of everything, and
23         A       I was a practicing attorney in          23   doing all those cases, and especially the
24   an office in Malvern, Arkansas for over 20            24   securities cases, you sort of see what's
25   years, yes.                                           25   puffery, what's real, what's not real, what
                                                 Page 35                                                   Page 37
 1                   Hopkins                                1                  Hopkins
 2          Q       And could you just briefly              2   attorneys are ready to go to trial, what
 3   describe your experience in class action               3   attorneys are desperate to settle because they
 4   matters?                                               4   could never go to trial because they'd never be
 5          A       Well, for whatever reason, in           5   ready. To an extent, doing what I did, you can
 6   our area of Arkansas, there were a lot of class        6   separate the wheat from the chaff.
 7   actions filed, and the outside firms and firms         7          Q      Thank you.
 8   that weren't really familiar with the judges           8               Let's talk about the State
 9   would often, you know, come and hire local             9   Street case.
10   attorneys to be just that, local attorneys, to        10          A      Okay.
11   sort of -- if something had to be -- back in the      11          Q      And tell us, Mr. Hopkins, how
12   day, before electronic filing, which is a fairly      12   you first got involved in this matter.
13   new advent, there would be documents delivered,       13          A      Well, just like I got up about
14   had to be made sure filed in court on a certain       14   5 o'clock this morning, and I started looking at
15   day, that kind of thing, and just what I'll           15   all the financial markets and news, and
16   call -- more of an administrative attorney than,      16   somewhere in -- you could probably look about
17   you know, the guts and doing all the research.        17   the time, and I don't know exactly what time
18                It wasn't uncommon that I would          18   that was where the State of California's qui tam
19   be hired as an attorney to work in those cases.       19   cases against State Street were unsealed about
20                Examples of those cases was a            20   the State of California planning to file a
21   case -- and I don't remember the name of it --        21   lawsuit, or had a lawsuit filed claiming that
22   concerning animal -- animal vitamins, and             22   State Street had -- that State Street, you know,
23   overcharges on that. I was -- I represented, as       23   had overcharged California pension plans on FX
24   local counsel, the Bridgestone Tire in the            24   charges.
25   Bronco rollover that had an issue filed there         25               I noted that lawsuit, and got a
                                                                                             10 (Pages 34 - 37)
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                                              Page 38                                                     Page 40
 1                  Hopkins                              1                 Hopkins
 2   little curious, but I thought -- you know, I'm      2   they do what they do. I did not call Kaplan
 3   not saying anything against California people,      3   Fox, because they're smaller, and I knew that
 4   but sometimes they think about things               4   would not be an area that they would have
 5   differently than some of the rest of us do, so I    5   focused on. But I talked to Bernstein Litowitz
 6   didn't get two excited.                             6   and I talked to Labaton, and Labaton quickly
 7               Then it wasn't long thereafter          7   said, "Hey, if you think there's an issue there,
 8   I saw that the State of Washington had settled a    8   we'll look at it."
 9   multi-million dollar claim with State Street        9              So I said -- so I sent them our
10   over FX charges.                                   10   contract. And by then I'd also tried -- I had
11               And, you know, once may be an          11   gotten from some of our managers what I call the
12   anomaly. When you have two, I started looking.     12   trading sheets, you know, for the repatriation
13               So I had -- we had entered into        13   of FX, because -- and I sent that to Labaton,
14   a custodial -- State Street's been our custodial   14   and very quickly learned that Labaton had hired
15   bank a long time. But remember that seven-year     15   an outside group that had -- they had concerns
16   rule? Right at the time I got there, they had      16   about whether we were -- whether what we were
17   already done an RFP, so State Street, right --     17   being charged was proper.
18   you know, probably in early 2009, that contract    18          Q    In addition to Labaton, did you
19   with State Street was started for another          19   consult with any economic consulting firms,
20   seven-year run, and I was just doing good trying   20   non-lawyers?
21   to find where all the bathrooms were and trying    21          A    Not at -- not at -- well, I
22   to deal with all the issues I had just to learn    22   probably...
23   about a system that had all those bells and        23              With our general financial
24   whistles on it, and focus on a custodial           24   consultant, which at the time was Ennis Kannup,
25   contract really wasn't my focus. So I really       25   that is now Aon Hewitt, our contact there, PJ
                                              Page 39                                                     Page 41
 1                  Hopkins
 2   hadn't -- I read over it, but I really didn't
 3   even know what some of the things they did for
 4   us were at the time when I first got started.
 5               But I pulled the contract back
 6   out and read it with great interest, especially
 7   in the FX area, and then I started asking, you
 8   know, staff that had been there for a while,
 9   "What do we do on FX," and they really didn't
10   know either. Because we really don't trade --
11   Arkansas Teacher Retirement, we do not have a
12   trading desk, we do not trade stocks or bonds.
13   We have outside managers do that, we do not do
14   it internally. So we really don't focus on
15   that. We hire good managers we expect to focus
16   on it. But my focus was there, and so reading
17   that contract, it seemed to me that I didn't see
18   where they could charge us for FX, except in
19   certain very limited positions.
20               So I -- as I had done a few
21   times before, I started contacting the outside
22   attorneys to say, "Do you know anything about
23   these cases? Do you know anything about FX?"
24               And I really don't call Nix
25   Patterson because they're a Texas law firm and
                                                                                           11 (Pages 38 - 41)
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                             .
                                 Page 43                                                     Page 45
                                            1                 Hopkins
                                            2   with State Street through their index fund
                                            3   process, securities lending programs, a lot
                                            4   of --
                                            5               JUDGE ROSEN: So is State
                                            6         Street still your custodial bank?
                                            7               THE WITNESS: State Street is
                                            8         our custodial bank.
                                            9         Q      So what did FX Transparencies
                                           10   and Labaton, and I guess your consulting firm,
                                           11   even though they cautioned against it, what did
                                           12   they tell you was going on, or what did you come
                                           13   to learn was happening with State Street foreign
                                           14   exchanges?
                                           15         A      That -- you know, that -- that
                                           16   often our trades were never -- you know, you
                                           17   would think on average, if you're sitting there
                                           18   flipping a quarter, on average you're going to
                                           19   get about half heads, half tails; you know,
                                           20   sometimes you have a bad trade, sometimes you
                                           21   have a good. We were always on the wrong side,
                                           22   and sometimes we were outside what's called the
                                           23   range of the day on trades. Meaning that if you
                                           24   have -- and FX is different from stock, but I'll
                                           25   give a stock example.

                                                                              12 (Pages 42 - 45)
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 1                  Hopkins
 2   our custodial bank, so I went back and got
 3   authorized from them to file this lawsuit.
 4          Q      And tell us about the filing of
 5   the lawsuit, what your participation was in it.
 6          A      Well, I had already learned a
 7   lot about what was happening, but I've always
 8   been a curious person, and I've -- if I have a
 9   responsibility, I like to take it, so we -- I
10   started looking at drafts of the complaint, and,
11   you know, saying "What about this? What about
12   that?"
13               So I won't say I helped draft
14   the complaint. I helped -- what would you
15   say -- tweak it occasionally.
16               And then, after the complaint
17   was filed, of course there was a motion to
18   dismiss filed by State Street, and then there
19   was a response to the motion to dismiss.
20               I went to the -- I felt like --
21   I wanted to see how State Street treated this in
22   court, and so I went to the motion to dismiss
23   hearing and listened to all the arguments.
24               Judge Wolf at the conclusion of
25   it essentially indicated he was going to let it
                                              Page 63                                                   Page 65
 1                 Hopkins                             1                  Hopkins
 2   go forward, but then he asked the parties to      2   were our custodial bank, we still had to have
 3   come back into his chamber area. And at that      3   lines of communication, I didn't want to be
 4   point Judge Wolf suggested that, you know, this 4     going through a law firm, so we had a very
 5   might be a good case to settle early, and wanted 5    informal discovery process. And we continued
 6   to know if I was willing to settle with State     6   telling Judge Wolf that -- you know, that we
 7   Street. I said "Sure, I am."                      7   continued trying to find middle ground.
 8               Of course, you know -- I didn't       8               We did informal discovery, very
 9   even ask Labaton. Of course, by then I know       9   massive discovery, but not more of that
10   they had already spent a lot of money and time 10     in-your-face kind of stuff that Judge Rosen as a
11   and effort trying to put together this case, and 11   judge had to mediate that -- you know, the
12   had already started putting together information 12   people acting like third graders, you know,
13   from us, had already hired experts, but at       13   fighting over a toy.
14   that -- you know what, that's what they sign on 14                And it was done very
15   for when they sign on with us; sometimes they 15      professionally on both sides, but very
16   may spend a lot of money -- we don't -- we don't 16   aggressively, and we continued going to
17   pay it, so we sit down, and I told them I        17   mediation.
18   wanted -- I didn't even ask them, I just said I  18               I don't know how many
19   wanted to try to settle with State Street. And   19   mediations I went to, but I'd say it was at
20   so I think the judge gave us two or three months 20   least half a dozen; some here, some in Boston.
21   to come back and report whether we had had any 21     I didn't suggest one in Little Rock -- they
22   success.                                         22   probably wouldn't have come anyway.
23               We -- the State Street, by the       23               But I continued to read things,
24   time we had that meeting, just really didn't     24   and since I -- and honestly, you know, there
25   show much indication they wanted to settle       25   were arguments they were making about whether

                                                                                         17 (Pages 62 - 65)
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                                                  Page 66                                                 Page 68
 1                  Hopkins                                  1                   Hopkins
 2   they were fiduciaries, you know.                        2   Mr. Carp had a rapport?
 3               And, of course, even Judge Wolf             3         A        We did.
 4   at one of those hearings said, "Well, why -- if         4                JUDGE ROSEN: Could I ask,
 5   you have all these problems with them, why are          5         there had been a previous settlement
 6   they still your custodial bank?" And the fair           6         with Washington State. Did that
 7   answer to that on the record is, "You know,             7         provide any kind of a template or model
 8   after seeing -- after talking to my financial           8         for the parties to work off of in
 9   consultants and reading all I had, you know, I          9         settling this case?
10   think all these banks, all this is a money             10                THE WITNESS: Not at all. And
11   center that nobody's paying attention to, it's         11         I'll tell you why. First of all, it
12   sort of gouged, and State Street was probably          12         was a one-off settlement. And
13   not as bad, you know, as some of the rest of           13         apparently -- ultimately, Mr. Paine, he
14   them."                                                 14         wasn't -- he was at, I think, all of
15               I mean, it's just a question               15         them -- he became lead later.
16   of -- they had all -- they had all acted               16                I'm trying to think of the
17   inappropriately, in my mind, but during this           17         older attorney who's the scholar.
18   process I realized that there's probably a             18         Q        Mr. Rudman?
19   culture at State Street that probably internally       19         A        Mr. Rudman.
20   frowned on this once it was uncovered. And I           20                I could tell I was outclassed
21   like State Street, you know.                           21   when I said two sentences of a Rudyard Kipling
22               Mr. Carp, that I ended up                  22   quote and then he went off for five minutes
23   having a lot of one-on-one dealings with --            23   finishing the whole rest of the chapter without
24               JUDGE ROSEN: Was he the one                24   looking down.
25          you had the first meeting with?                 25                JUDGE ROSEN: Gunga Din.
                                                  Page 67                                                 Page 69
 1               Hopkins
 2             THE WITNESS: No. No, he was
 3       not.
 4             For whatever reason, I don't
 5       think that guy showed up after that
 6       first mediation.
 7       A      But Mr. Carp was an internal
 8 attorney, and he and I actually started having
 9 discussions, at my request, at these mediations.
10       Q      And that's Jeffrey Karp,
11 K-a-r-p?
12             MS. LUKEY: C-a-r-p.
13       A




20               He was a good man, and I got
21   the clear idea that they wanted to do right by
22   us, and those others, and at the same time they
23   weren't going to pay us a penny more than what
24   they thought they had to.
25         Q      But you felt like you and

                                                                                             18 (Pages 66 - 69)
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                                            21




                                  Page 83                                                  Page 85
                                             1                  Hopkins
                                             2          So class certification's always an
                                             3          issue, especially in a diverse area
                                             4          where you have so many different
                                             5          entities with different contracts and
                                             6          different circumstances.
                                             7                JUDGE ROSEN: Okay.
                                             8   BY MR. SINNOTT:
                                             9          Q      Mr. Hopkins, you were a class
                                            10   representative in this case. And you had been a
                                            11   class representative previously?
                                            12          A      Yes. Not in an FX case, but in
                                            13   all these other securities cases.
                                            14          Q      What were your duties as a
                                            15   class representative in the State Street case?
                                            16          A      My duties were you to, first of
                                            17   all, to oversee the litigation, to oversee the
                                            18   attorneys, to ensure that all our attorneys were
                                            19   appropriately taking all action necessary, to be
                                            20   prepared in the mediations, to be prepared to do
                                            21   all the discovery, to respond to all the
                                            22   motions, and to comply with all the judge's
                                            23   orders. And ultimately my duty is to ensure
                                            24   that the class got as good an outcome as they
                                            25   could under the circumstances presented to us.
                                                                             22 (Pages 82 - 85)
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                                             1              Hopkins
                                             2          JUDGE ROSEN: From your
                                             3   comments in court the very first day of
                                             4   my appointment, it sounded like you
                                             5   were pleased with Labaton's
                                             6   representation of the Arkansas
                                             7   Teachers?
                                             8          THE WITNESS: I don't think
                                             9   another law firm could have gotten the
                                            10   outcome they did.
                                            11          I'll attribute it to a lot of
                                            12   hard work, being experienced, clever,
                                            13   maybe even a little lucky at times.
                                            14   Luck always comes in these cases a
                                            15   little bit.
                                            16          JUDGE ROSEN: The harder you
                                            17   work, the luckier you get.
                                            18          THE WITNESS: You know, they --
                                            19   and Lawrence -- I call him Larry -- you
                                            20   know, an old dog fought a good -- led a
                                            21   team in a great way. I think he had a
                                            22   vision of how this thing was going to
                                            23   go from day one, and pulled it off, and
                                            24   my hat's off to him.
                                            25          JUDGE ROSEN: And what about
                                  Page 99                                         Page 101




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 1              Hopkins                             1               Hopkins
 2     Fierce, but also timely.                     2          Q   And you felt that was fair and
 3           JUDGE ROSEN: And speaking of           3   reasonable?
 4     work and hours spent, are you able to        4          A       Right.
 5     estimate how much time you put into it       5                Let me go back to service fee
 6     personally?                                  6   for one second.
 7           THE WITNESS: A lot.                    7                I wasn't the only one at ATRS
 8           You know, when -- when I --            8   who was involved in this case. We hired a
 9     when they asked me to prepare the            9   temporary person, who sat there for several
10     documents for the service fee, I tried      10   months in front of a scanner, scanning in all
11     to be conservative. In terms of the --      11   these documents. Also had other -- you know, we
12     I'm trying to think in terms of the         12   had IT staff preparing all the electronic
13     hours.                                      13   things, and I have people I regularly involve,
14           I'd have to say, when you             14   like Rod Graves, who helps me think through and
15     really got down to it, and sometimes        15   talk about this and review documents.
16     the calls at night and meetings, and        16                So when the service fee -- by
17     the mediations, and not necessarily         17   the way, that service fee was not a George
18     including just think time, but several      18   Hopkins service fee, I did not get a penny of
19     hundred hours.                              19   that. It all -- that $25,000 went into our
20           JUDGE ROSEN: Just guessing, on        20   trust fund to pay member benefits.
21     these calls my guess is most of them        21                JUDGE ROSEN: How did you find
22     were not short, brief calls?                22          out that there was the possibility of a
23           THE WITNESS: I can't be short,        23          service fee, that that was going to be
24     if you've already figured that out,         24          proposed to Judge Wolf?
25     Your Honor. My attorney --                  25                THE WITNESS: Well, you know,
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